                    IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                            SOUTHWESTERN DIVISION


UNITED STATES OF AMERICA,                            )
                                                     )
                      Plaintiff,                     )
               v.                                    ) Criminal Action
                                                     ) No. 04-05033-02-CR-SW-ODS
EMMANUEL RODRIGUEZ,                                  )
                                                     )
                     Defendant.                      )



 REPORT AND RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

       Defendant has filed two Motions to Suppress Evidence, in which he asserts that evidence

seized as a result of a search at 5165 County Lane 50, Reeds, Missouri and as a result of a search

at 3411 S. Pearl, Joplin, Missouri, should be suppressed. The United States filed its response. The

matter was set for an evidentiary hearing, which was held before the undersigned on June 21, 2005.

The defendant was present with counsel, Frank A. Rubino, and the United States was represented

by Robyn McKee, Assistant United States Attorney.

       Defendant contends that, in the case of the warrant executed at 5165 County Lane 50, Reeds,

Missouri, the reliable confidential informant was, in fact, not reliable, and that her statements

regarding drugs, money, and guns located at that address were not corroborated by any of the

officers. Regarding the search warrant issued for 3411 South Pearl, Joplin, Missouri, defendant

contends that the information in the affidavit was wholly insufficient to establish probable cause

because the only connection between the residence and methamphetamine was a scale found in the

trash that had methamphetamine residue on it, and the only connection with defendant is that it is

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claimed that he had been observed going there. Further, defendant contends that there was an

insufficient nexus to believe that drug activity, described by Jeff Bateman eight months before, was

sufficient to tie it to the residence at 3411 S. Pearl. Finally, defendant asserts that the affidavit was

not sworn to before the issuing judge, and therefore, that there is a large technical defect in this

affidavit.

        It is the government’s position that, from the four corners of the affidavits in this case, it is

clear that sufficient probable cause existed to believe that controlled substances and related

contraband would be located at both residences. Additionally, it is contended that, even if probable

cause were lacking, the good faith exception enunciated in United States v. Leon, 468 U.S. 897

(1984), should apply.

         The government called Randee Kaiser of the Jasper County Drug Task Force. He is the

local case agent in connection with this investigation, and is employed by the Carthage Police

Department. On December 16, 2003, Officer Kaiser applied for a search warrant for the 5165

County Lane 50 address. He prepared the affidavit, and appeared personally before Associate

Circuit Judge Richard Copeland. The Judge signed the search warrant that day. The officer

believed it to be valid prior to executing it on the residence. In the affidavit, he set forth a summary

of the facts known to him at the time. He did not include every detail of the investigation on Yone

and Emmanuel Rodriguez, which had been ongoing for at least three years prior to this time.

Rather, he included those facts that he believed were sufficient to establish probable cause. One of

the areas of information that was known to him at the time that was not included in the affidavit was

regarding Jacqueline Witt. Officer Kaiser testified that a reliable confidential informant had advised

him about Jacqueline Witt. The informant said Ms. Witt was transporting methamphetamine for


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Yone Rodriguez. The confidential informant also verified previous information Officer Kaiser had

received from other informants that Ms. Witt made short trips to California and transported

methamphetamine back to Missouri. Ms. Witt was arrested at the Tulsa Airport on December 16,

2003, and gave a statement to the Tulsa authorities. Officer Kaiser referred to this statement in his

affidavit. He also knew that she called Emmanuel Rodriguez from the airport; that defendant went

to Tulsa pursuant to the phone call; and he was subsequently detained. He was aware that defendant

had been questioned, but was not aware of what he said at that time. The following day, he learned

the contents of the statement, prior to the search warrant being executed. He was also aware that

Juan Gonzalez had been detained at the airport. Mr. Gonzalez stated that defendant told him to pick

up Ms. Witt from the airport. He had previously dropped her off at the airport. Mr. Gonzalez

advised that he went at defendant’s direction. It was Officer Kaiser’s testimony that he had three

separate pieces of information regarding Ms. Witt transporting methamphetamine from California

for defendant. Some of this was sketchy information. Other information was more specific, and

included the period of time she would stay and what she was transporting the drugs for. The officer

had received information from an informant that both defendant and Yone had a trailer in Reeds.

Ms. Witt drew a map of the location, and the authorities in Tulsa faxed it to him. The officer

testified that he took great pains to make sure he had the right location and the right address. They

cross-referenced the address, which checked back to defendant’s aunt. The officers locally went to

the residence, by following Ms. Witt’s map, and saw vehicles there. They checked the license plates

from the vehicles, and one of them checked back to defendant. Officer Kaiser also included

information in the affidavit that Yone Rodriguez had been stopped in California with several

thousand dollars of currency and a one-way plane ticket. In his mind, this information corroborated


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what Ms. Witt had said about Yone Rodriguez making frequent trips to California with her for the

purpose of purchasing methamphetamine and transporting it back to Missouri.

       Regarding the second search warrant that was served on 3411 South Pearl in Joplin, the

affiant was Frank Lundien. Officer Kaiser was aware of all the facts that lead up to that search

warrant, and was present when it was executed. He testified that Officer Lundien is the supervisor

of the Jasper County Drug Task Force. He applied for the search warrant on December 19th. Officer

Lundien faxed all the information to the Newton County Prosecutor. His affidavit was notarized

prior to submitting it to the prosecutor. Based on Officer Kaiser’s knowledge, the signed copies of

the search warrant, the application, and the affidavit were faxed back to their office. This is standard

procedure when attaining a search warrant from the Newton County judge. The search warrant was

signed by Judge John LePage, who is a McDonald County Judge, sitting by designation in Newton

County. At the time they executed the search warrant, he believed it was valid because the judge

had signed it, and because he reviewed the facts and believed there were sufficient facts to establish

probable cause. The affidavit indicates that there was a trash run at the Pearl Street residence and

Wal-Mart bags with holes cut in them were found. Officer Kaiser stated that individuals who

package and distribute methamphetamine frequently cut corners out of the bags and cut a circle in

the bag to package small amounts of methamphetamine. This method is consistent with purchases

he has made as an undercover officer. During the trash run, he also found scales that tested positive

for methamphetamine, and an AT&T bill in Ms. Bateman’s name, which listed three calls to

California. This trash run was conducted the day the search warrant was obtained. Prior to the

search, he and other officers had targeted this address. They had received information from an

informant that Lisa Bateman was defendant’s girlfriend, and that she and defendant were living at


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the Pearl Street address with their child. Additionally, the officers had seen defendant there through

random day and night surveillance over the previous month. The information they had did not

necessarily indicate that methamphetamine was being produced at the Pearl Street address, but that

defendant was distributing methamphetamine. This information came from Jeffrey Bateman, who

is Lisa Bateman’s brother. The statement about defendant going to Tulsa and making a written

statement was not available when the first search warrant was sought, but was available and included

in the affidavit for the search warrant sought on the 19th.

       On cross examination, Officer Kaiser testified that he went before the judge to obtain the

search warrant on the 16th for the trailer. He swore to it before the judge. The information the judge

had was limited to the four corners of the document. Regarding the reliable informant, the

individual advised him personally about Jacqueline Witt. The officer agreed that the confidential

informant did not tell him that he or she had seen drugs at the Reeds Trailer.          He did have

information that Ms. Witt said she was at the Reeds Trailer before she went to California, and that

she saw guns and drugs. Ms. Witt stated that defendant had sold drugs there. The affidavit indicated

that defendant and Yone lived there. The information they had obtained from the confidential

informant about Ms. Witt was corroborated by the officers. Regarding the statement in the affidavit

that the confidential informant was “reliable,” the officer stated that this is someone with a good

track record with the officers. The informant did not provide any information about defendant

except that Ms. Witt told the informant that she was going to California for defendant. Regarding

the information from Ms. Witt, the officer agreed that she was not in the category of a reliable

informant. Officer Kaiser testified that Ms. Witt cooperated with the officers in Tulsa by providing

information, which was also incriminating to her. He did not advise her that her cooperation would



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be helpful to her and would be communicated to the judge or to prosecutors. Regarding her

statement that defendant and Yone lived at the Reeds trailer, the officers already had information

that they were staying at a trailer in Reeds. Although he also had information about defendant living

at the Pearl Street address, through his experience, it is not uncommon for individuals in such

circumstances to have multiple addresses. He accepted that defendant stayed at the trailer with

Yone, and stayed at the house with his girlfriend and their child. When they went to the trailer,

defendant was not there. The officer testified, however, that they found evidence that defendant had

been living or staying there, because there was mail with his name on it. Ms. Witt said she had been

there on the 15th, but he was not able to corroborate this. He did not corroborate that she saw a drug

sale there, or that she saw guns, drugs, and cash, but the information was consistent with previously

received information about guns, methamphetamine, and cash at that residence. To the best of his

recollection, the confidential informant never said that he or she had been in the Reeds trailer. He

stated that the 911 call indicated that the address was listed to defendant’s aunt.

       Regarding the search warrant for the Pearl Street address, Officer Kaiser acknowledged that

Officer Lundien prepared the affidavit. Officer Kaiser was in the office when he prepared it. He

knew that Officer Lundien did not take the affidavit to the judge, and he was not aware of any

communication that the judge had with the officer. The signature of the officer was notarized.

Officer Kaiser admitted that no one had told them specifically that drugs were located at the Pearl

Street address. But, because they found the scales with methamphetamine residue, he believed this

indicated there had been drugs at the house.

       The law is clear that a warrant is supported by probable cause             if, “given all the

circumstances set forth in the affidavit . . ., including the ‘veracity’ and ‘basis of knowledge’ of



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persons supplying hearsay information, there is a fair probability” that contraband or evidence of

a crime will be found in the place to be searched. United States v. Edmiston, 46 F.3d 786, 789 (8th

Cir. 1995), quoting Illinois v. Gates, 462 U.S. 213, 238 (1983). Affidavits should be read in a

“common-sense and realistic fashion” and judges must make a practical decision based on the

totality of the circumstances. United States v. Gladney, 48 F.3d 309, 312 (8th Cir. 1995) (citation

omitted). In determining for suppression purposes the validity of a warrant, the court must

determine whether there was a “substantial basis” for the probable cause determination. Gates, 462

U.S. at 238. Probable cause may be based on hearsay from a reliable source. Id. at 244-45. The

reliability of a confidential informant may be established by the individual’s track record of having

provided reliable information, or through corroboration by independent evidence. U.S. v. Fulgham,

143 F.3d 399, 401 (8th Cir. 1998) (citation omitted). “When we review the sufficiency of an affidavit

supporting a search warrant, great deference is accorded the issuing judicial officer.” Id. at 400-01.

       In this case, the affidavit in support of the first search warrant for 5165 County Lane 50,

Reeds, Missouri, included information that there had been a three-year long investigation by the

Jasper County Drug Task Force and other agencies, focused on Yone Rodriguez and defendant. The

officers had intelligence reports that indicated that they frequently distributed methamphetamine.

A reliable confidential informant told Officer Kaiser, the affiant, that Jacqueline Witt was going to

California to pick up a large amount of methamphetamine. The officer had information that

indicated that Ms. Witt only stayed in California a day or two and then flew back. It was confirmed

that she bought a one-way ticket and flew from Kansas City to Burbank the morning of December

15, 2003. The officers had information that she would be flying back to Tulsa, Oklahoma. They

stopped her at the airport there, and found her in possession of one to two pounds of



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methamphetamine. Ms. Witt told the agents that she had gone to California with Yone Rodriguez

on December 15, that he had $12,000 in cash, that he bought the methamphetamine, and that he gave

it to her to transport. She also told the agents that Yone Rodriguez and defendant lived together at

the address in Reeds, and that she had been there on the 15th. Ms. Witt told the agents that she had

seen defendant sell two ounces of methamphetamine to someone on that date, and that she had seen

numerous guns, a large quantity of methamphetamine, and cash there. Officer Kaiser also included

the information that Yone Rodriguez had been stopped in California three weeks earlier and was

found with several thousands of dollars of cash and a one-way plane ticket to an unknown

destination.

       Officer Kaiser testified at the hearing that the confidential informant had provided reliable

information in the past, and that the information regarding Ms. Witt making frequent trips to

California was corroborated by several separate sources. Additionally, he testified that Ms. Witt

drew a map to the trailer, and that the officers confirmed the address and location through their own

investigation. Further, in regards to the fact that Ms. Witt had not previously provided any

information, he testified that she made incriminating statements and that she was not promised any

favors in exchange for the information she provided. Although the officer admitted that he did not

corroborate the information regarding Ms. Witt having been at the residence on the night of the 15th,

he had previously received information about guns, methamphetamine, and cash at that residence.

After a full review of the affidavit in support of the application for the search warrant, the Court

finds that, based on the totality of the circumstances, including the statements from a confidential

informant who had proven reliable in the past, corroboration of information received from several

sources, and the officers’ own investigation, probable cause existed to support the issuance of the



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first search warrant.

       Even if that were not the case, however, the Court is of the opinion that the good faith

exception enunciated in United States v. Leon, 468 U.S. 897, 922-23 (1984), would apply. When

making a good faith assessment, the Court must examine the totality of the circumstances, including

what the officer knew but did not include in his affidavit. United States v. Chambers, 987 F.2d

1331, 1335 (8th Cir. 1993). Having reviewed the record as a whole, with the benefit of the additional

information adduced at the hearing, it is clear that the officers reasonably relied on the validity of

the warrant. The officers had available to them the information set forth in the affidavit, as well as

the additional information about which Officer Kaiser testified at the hearing. A careful review of

the evidence establishes that the officers had an objective, good faith belief that the warrant was

valid and based upon probable cause. Accordingly, it will be recommended that the motion to

suppress the evidence seized as a result of the search warrant issued on December 16, 2005, should

be denied.

       In terms of the second search warrant, for the premises at 3411 S. Pearl, Joplin, Missouri,

the affidavit relies on the information obtained from Officer Kaiser regarding Ms. Witt. It contains

the results of the search warrant that was executed on December 16th. The affidavit also includes

additional information regarding the fact that Ms. Witt called defendant from the Tulsa Airport and

told him she needed a ride back to Joplin. Defendant went to Tulsa, and was contacted by law

enforcement officers there. He told them that Yone Rodriguez, his brother, had the drug connection

in California. Ms. Witt stated that defendant had a girlfriend named Lisa Bateman, who lived in the

area of 34th Street in Joplin, west of Main. The affidavit also provides that previously, on February

26, 2003, a Joplin Police Officer, Larry Stout, interviewed Jeff Bateman, Lisa’s brother. Mr.



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Bateman, who was in possession of a large amount of methamphetamine, said that his sister dated

defendant, and that he got his methamphetamine from both defendant and his brother on a regular

basis. The affidavit indicates that the officers conducted surveillance on the 3411 Pearl Street

address and observed defendant coming and going from this location. The affiant, Officer Frank

Lundien, confirmed that Lisa Bateman paid the waste water bill. On December 19, 2003, Officer

Lundien examined the trash on the curb at that location and found evidence of methamphetamine

packaging. He also located a set of scales, which had methamphetamine residue. Additionally, the

trash contained mail addressed to Lisa Bateman, and a telephone bill with three calls made to

California. Regarding the information from Jeff Bateman, although it was received in February, the

officers independently corroborated his statement that his sister lived at that address. They also

confirmed, through random surveillance, that defendant came and went from the residence on Pearl

Street, which would support Mr. Bateman’s statement that his sister lived with defendant.

Additionally, Mr. Bateman was found with a large amount of methamphetamine, which he said he

obtained from defendant and his brother. Ms. Witt also had told the agents in Tulsa that Lisa

Bateman was defendant’s girlfriend.        Further, the trash run indicated that, at the least,

methamphetamine was being weighed and packaged from those premises. Accordingly, based on

the totality of the circumstances, the Court finds that probable cause existed to support the second

search warrant.

       Regarding defendant’s additional challenge to the search warrant, after the hearing in this

case, defendant filed a Supplemental Memorandum of Law to Previously Filed Motion to Suppress.

Defendant asserts that during the testimony of Officer Kaiser, it was learned that investigator Frank

Lundien did not swear to the affidavit in front of the judge. Defendant argues that, on the affidavit



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for the search warrant for 3411 South Pearl, Officer Lundien’s signature is at the bottom, and

directly below that it states, “subscribed and sworn to me this blank date of December, ‘03' with a

signature line for judge of the Circuit Court.” [Defendant’s Supplemental Memorandum at 3].

Defendant argues that although it was obviously anticipated that the affiant would appear before the

judge and swear to the affidavit, that did not occur. He contends that we do not know whether the

notary “simply attested that that was Frank Lundien’s signature or actually swore Frank Lundien.”

[Id.].

          The government has replied to defendant’s Memorandum. It is represented to the Court that

Officer Lundien is prepared to testify, should it be deemed necessary, that he did swear to the truth

and accuracy of the information contained in his affidavit before the notary public. The government

asserts, however, that the additional testimony is not necessary because it is clear from a review of

the affidavit that Officer Lundien intended to be under oath at the time of the presentation of the

application and supporting affidavit to the judge. Further, it is contended that even if the oath

administered by the notary public was somehow insufficient, the officers relied in good faith on the

validity of the warrant.

          A review of the holdings in United States v. Workcuff, 250 F. Supp.2d 1160, 1188-90

(W.D.Mo. 2003), and United States v. Brooks, 285 F.3d 1102, 1105 (8th Cir. 2002) , indicates that

the proper inquiry for the Court is whether the verifying officer “intended to be under oath because

his statements and actions manifested such an intention.” Workcuff, 250 F. Supp.2d at 1190.

          The Court has reviewed the testimony of Officer Kaiser, who was present when Officer

Lundien prepared the affidavit. He testified that Officer Lundien, who is the supervisor of the Jasper

County Drug Task Force, faxed the affidavit, the application, and the search warrant to Jake Skouby,


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the Newton County Prosecutor. It was his testimony that Officer Lundien had the affidavit notarized

prior to submitting it to Mr. Skouby. Larry Stout, Notary Public, notarized Officer Lundien’s

signature, but Officer Kaiser did not know if Mr. Stout actually swore Officer Lundien, or merely

attested to his signature. The officers were faxed back the application, affidavit, and search warrant

signed by the judge. It was Officer Kaiser’s statement that this method is standard procedure when

obtaining a search warrant from Newton County, which is some distance from the Jasper County

Drug Task Force Office. At the time they executed the search warrant, he believed it was valid

because the judge had signed it, and because he reviewed the facts and believed there were sufficient

facts to establish probable cause.

       The Court has the government’s representation that Officer Lundien, if called, would testify

that he did swear to the truth and accuracy of the information contained in his affidavit before the

notary public. Further, the first line of the affidavit states that, “[t]he undersigned being duly sworn

states to the Court. . . .” [Government’s Exhibit B]. At the conclusion of the affidavit, the line

appears, “Subscribed and sworn to before me this            day of December 2003.” It is signed and

dated December 19, 2003, by Larry Stout, Notary Public. The application is signed by the

Prosecuting Attorney, who indicates that “being duly sworn,” he makes application for a search

warrant. At the bottom of the application, it is stated, “Subscribed and sworn to before me this 19th

day December 2003, and is signed by the Circuit Court Judge. The search warrant itself states that

the application is“duly verified by oath,” and is signed by the judge.           It can be concluded,

accordingly, that Officer Lundien’s intent was to be under oath at the time of the presentation of the

affidavit and application to the issuing judge for the search warrant for 3411 S. Pearl, and that the

search warrant met the constitutional requirement that it be supported by an oath or affirmation.


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          Even if this were not the case, however, the Court agrees that the warrant should not be

suppressed because the officers acted with a good faith reliance on the validity of the warrant when

they served it. According to the testimony of Officer Kaiser, the procedure relied upon in faxing

the affidavit and the application to the prosecuting attorney in Newton County was a standard

practice, given the distance between the Task Force Office and the Newton County Prosecutor’s

office. He also testified that he believed the search warrant was valid because the judge had signed

it, and because he reviewed the facts and believed there were sufficient facts to establish probable

cause. It is clear that officers relied in good faith that the warrant was valid and based upon probable

cause, and the Leon exception would therefore apply. Accordingly, it will be recommended that

defendant’s motion to suppress the evidence seized as a result of the search warrant executed on

December 19, 2003, be denied.

         For the foregoing reasons, it is, pursuant to the governing law and in accordance with Local

Rule 72.1 of the United States District Court for the Western District of Missouri,

         RECOMMENDED that defendant’s Motions to Suppress Evidence be denied.

                                                                 /s/ James C. England
                                                                JAMES C. ENGLAND
                                                                United States Magistrate Judge


Date:     9/1/05




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